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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


    CAROL ROBERTS, et al.,

          Plaintiffs,

    v.                                                  CASE NO. 8:14-cv-1815-T-23TGW

    WELLS FARGO BANK, N.A.,

         Defendant.
    __________________________________/


                                            ORDER

          The plaintiffs announce (Doc. 22) a settlement in this action. Under Local

    Rule 3.08(b), this action is dismissed subject to the right of any party within sixty

    days (1) to submit a stipulated form of final order or judgment or (2) to re-open the

    action upon a showing of good cause. The clerk is directed to terminate any pending

    motion and to close the case.

          ORDERED in Tampa, Florida, on January 16, 2015.
